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                          Slip Op. 23-13

UNITED STATES COURT OF INTERNATIONAL TRADE

- - - - - - - - - - - - - - - - - - - - -x Senior Judge Aquilino

MEYER CORPORATION, U.S.,                       :

                           Plaintiff,          :

                   v.                         : Court No. 13-00154

UNITED STATES,                                 :

                          Defendant.           :

- - - - - - - - - - - - - - - - - - - - -x

                           Opinion & Order

[Upon appellate remand to “the court to
 reconsider whether Meyer may rely on the
 first-sale price”, that reconsideration
 on the record at bar concludes that it
 may not.]

                                             Decided: February 9, 2023

     John M. Peterson, John P. Donohue, Richard F. O’Neill, and
Patrick B. Klein, Neville Peterson LLP, New York, NY, for the
plaintiff.

     Justin R. Miller, Attorney-in-Charge, and Beverly A. Farrell,
Senior Trial Attorney, U.S. Department of Justice, Civil Division,
Commercial Litigation Branch, International Trade Field Office, New
York, NY, and Brian M. Boynton, Principal Deputy Assistant Attorney
General, Civil Division, and Patricia M. McCarthy, Director, U.S.
Department of Justice, Civil Division, Commercial Litigation
Branch, Washington, D.C., for the defendant.


          AQUILINO, Senior Judge: The mandate of the U.S. Court of

Appeals for the Federal Circuit (CAFC”) having issued pursuant to

its decision to remand supra sub nom. Meyer Corp. v. United States,
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43 F.4th 1325, 1333 (2022) (“Meyer III”), has led the parties to

file papers in regard thereto.


               Presumed herein is familiarity with this test case on

valuation under 19 U.S.C. §1401a of 125 different sets of pots and

pans imported from the People’s Republic of China (“PRC”) and the

Kingdom of Thailand and the extensive record and prior decisions

thereon.      See   Meyer   Corp.   v.    United     States,     41    CIT    ___,   255

F.Supp.3d 1348 (2017) (“Meyer I”) (summary judgment granted in part

and denied in part); Meyer Corp. v. United States, 45 CIT ___, Slip

Op. 21-26 (March 1, 2021) (“Meyer II”) (opinion after trial;

judgment for defendant).


               The CAFC affirmed the finding that steel discs exported

to   Thailand       from    China        underwent       only    one       substantial

transformation, not two, and that the resultant cookware for the

U.S. was thus not entitled to duty-free treatment.                      Meyer III, 43

F.4th    at    1330-32.     It   also     vacated       and   remanded       plaintiff-

appellant’s first-sale claim, stating that “there is no basis in

the statute for Customs or the court to consider the effects of a

nonmarket economy on the transaction value and require a party to

show the absence of all ‘distortive nonmarket influences.’” Id. at

1332.    The    CAFC   decision     goes     on    to    state      that     19   U.S.C.
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§1401a(b)(2)(B) “concerns effects of the relationship between the

buyer and seller, not effects of government intervention, and

especially    not   with   government   intervention    that    affects     the

industry as a whole.”      Id. at 1332-33.


           From this court’s perspective, because the purpose of the

General Agreements on Tariff and Trade was to promote trade

liberalization among market-oriented countries and help spread

democratic    values   that   were   associated     with     capitalism,     in

opposition to fascism and the “Iron Curtain” that was descending on

Europe in the aftermath of World War II,1 the fact that the

valuation statute presupposes a “market” environment focusing on

the individual transaction is unsurprising.          That was the purpose

of the GATT negotiations.


             That does not mean, however, the statute as written

necessarily contemplates zero distinction between sellers operating

in market economies and those operating in nonmarket economies,




       1
          See, e.g., GATT 1947: How Stalin and the Marshall Plan
helped    to   conclude    the    negotiations,   available   at
https://www.wto.org/english/tratop_e/gatt_e/stalin_marshall_
conclude_negotiations_e.htm (last checked this date).
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particularly in view of the judge-made “first sale” rule2 on the

“price paid or payable” of 19 U.S.C. §1401a(b)(1) (“[i]f sufficient

information is not available, for any reason,3 with respect to any

amount” necessary to increase the “price actually paid or payable

for imported merchandise . . . by the amounts attributable” to the

items listed as (A) through (E) of §1401a(b)(1)(packing costs,

selling commissions, assists, royalties, license fees, and, of some

import to this case, “the proceeds of any subsequent resale,

disposal, or use of the imported merchandise that accrue, directly

or indirectly, to the seller”), then the transaction value of the

imported merchandise concerned “shall” be treated as one that

cannot be determined).         It was the CAFC itself, in fact, which

articulated   the    concept    of   “the   absence   of     any   non-market

influences that affect the legitimacy of the sales price” -- apart

from the language of the statute itself.       See Nissho Iwai Am. Corp.

v. United States, 982 F.2d 505, 509 (Fed.Cir. 1992).


       2
          That rule evolved from the prior concept of “export
value.” See Tariff Act of 1930 §402(d) (June 17, 1930). It has
been maintained by various judicial decisions, even under the
current valuation statute. See, e.g., United States v. S.S. Kresge
Co., 26 CCPA 349, 352 (1939); R.J. Saunders & Co. v. United States,
42 CCPA 55, 59 (1954); United States v. Getz Bros. & Co., 55 CCPA
11 (1967); E.C. McAfee Co. v. United States, 842 F.2d 314 (Fed.
Cir. 1988); and Nissho Iwai Am. Corp. v. United States, 982 F.2d
505 (Fed.Cir. 1992).
       3
           Emphasis added.
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          Be that as it has been, the current CAFC panel having,

seemingly unequivocally, answered Meyer II’s earlier question or

observation on that point, this court, accordingly, will continue

its consideration of the substance of the matter, as developed

before, during, and after trial.


                                   I

          The plaintiff commenced this action seeking first-sale

treatment for its imported cookware from the PRC, and duty-free

treatment under the Generalized System of Preferences (GSP) for

certain cookware imported from Thailand, a beneficiary developing

country (BDC). After extensive discovery, the parties cross-moved

for partial summary judgment on whether cookware sets containing a

non-de minimis, non-BDC component could qualify the entire set for

GSP treatment; and whether Meyer’s imported cookware is viably

valued at the price between the Thai producer and a middleman

(first-sale price), both of which are Meyer related.            Meyer I, 41

CIT at ___, 255 F.Supp.3d at 1350-51.


          On the set issue, this court determined that the presence

of a non-BDC component in a set would not preclude BDC components

from receiving GSP treatment, although such treatment would not

extend to a non-BDC component.     Id., 41 CIT at ___, 255 F.Supp.3d
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at 1355-59. However, the issue of whether the Thai-made components

were entitled to duty-free treatment under the GSP was yet to be

resolved. In determining whether first-sale could present a viable

value    for    the    related      entities,    this    court      found   that    the

government had not waived the issue of Meyer’s failure to provide

its parent’s financial information as requested during discovery.

Id., 41 CIT at ___,          255 F.Supp.3d      at 1360-61.    This court further

held that “[a]ll of the entities relevant to that issue [i.e.

dealing at arm’s length] are related, and therefore the financial

information pertaining to the parent is also relevant to examining

whether any non-market influences affect the legitimacy of the

sales price.”       Id., 41 CIT at ___, 255 F.Supp.3d at 1361.               Finally,

after    noting       that    the   first-sale-transaction          issue    revealed

disputed material facts, this court required the parties to confer

and propose how to proceed.            Id., 41 CIT at ___,          255 F.Supp.3d at

1362.


               Ultimately, a trial was held on the issue of whether

certain      Thai      cookware       had    undergone      double       substantial

transformation and thus satisfied the requirements for duty-free

treatment      under    the    GSP,   and   also   the   issue      of   whether    the

first-sale-transaction price was a viable value for the imported

merchandise.      Between the Meyer I decision and commencement of the
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trial, Meyer did not amend its discovery responses to include its

parent’s financial information.           Although the plaintiff presented

direct testimony from five witnesses at trial, such testimony did

not include witnesses from Meyer Manufacturing Company Limited

(Meyer Hong Kong) or from Meyer International Holdings Limited

(Meyer Holdings), the direct parent company of the plaintiff, the

Thai producer, Meyer Macau, Meyer Hong Kong, and the indirect

parent of the PRC producer.


              After trial, the parties submitted competing findings of

fact and conclusions of law.            After considering them, this court

concluded that GSP treatment was not available for Thai cookware

manufactured from steel discs obtained from the PRC because no

double substantial transformation of the discs had occurred by the

Thai manufacturing process.         Meyer II at *50.


              This court further held that, “[b]ased on the applicable

law and the evidence adduced at trial, the plaintiff has also

failed   to    establish    that   it    should   be   entitled     to   use    the

transaction value between the China producer and Meyer Hong Kong or

the   Thai     producer    and   Meyer    Macau   (‘first       sale’)   for    the

appraisement of the imported cookware.”                Id.   This court noted

that, for the “all costs plus profit” test, costs are critical and
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that the costs of the inputs from the PRC are suspect.4              It also

found that “no CBP regulation requires that the ‘firm’ mentioned in

19 C.F.R. §152.103(l)(1)(iii) be the ‘parent’ of the importing

party.” Id.


           Regardless, even if the costs of inputs were not suspect,

this court observed that the parent company “Meyer Holding[s]

presumptively had the ability to influence the price paid or

payable for them.”    Id. at *51.      Moreover, “[w]ithout financial

statements, th[is] court has no concept of the extent to which the

finances of the Meyer group units are truly independent ‘silos’ of

one another, or the extent to which there might have been state

influence or assistance to some degree.” Id. For whatever reason,

in vacating and remanding Meyer II, the CAFC does not address these

observations.


                                  II

           Facts drive the law.     It is not the other way around.

Even ignoring the fact that the claimed transaction values involve



       4
          The CAFC decision does not directly address this
necessary observation, which remains an element of this cost-plus-
profit case, even if 19 U.S.C. §1401a(b)(2)(B) “concerns effects of
the relationship between the buyer and seller, not effects of
government intervention, and especially not with government
intervention that affects the industry as a whole.”
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inputs from a non-market-economy country in the merchandise at

issue,   this    court   still   cannot     ignore     plaintiff’s         non-

responsiveness   to   defendant’s   request    for   information       during

discovery.   The fact that the government herein was not provided

with the financial information pertinent to plaintiff’s parent

company hampered its ability to discern whether or not the parent

of the plaintiff provided any form of assistance to reduce costs.

As this court previously observed (here excising any inference of

“nonmarket consideration” in accordance with the CAFC opinion):

     Even if “true” costs of such inputs could be determined,
     Meyer Holding[s] presumptively has had the ability to
     influence the price paid or payable for them, for example
     by providing its subsidiaries access to credit and
     capital on terms that are not available to competitors
     without the same level of bargaining power with
     creditors, or even at “below market” rates.       Without
     financial statements, the court has no concept of the
     extent to which the finances of the Meyer group units are
     truly independent “silos” of one another . . ..

     The most that plaintiffs’ witnesses could testify to was
     that they were unaware of any such assistance . . .. At
     trial, the defendant only lightly explored the extent to
     which   such    considerations   might   be    considered
     [ ]distortive. But then again, the defendant never had
     the ability to probe deeper, in part because it was never
     provided the financial information it requested in
     discovery in order to be able to ask or answer probing
     questions.

     The court understands that the Meyer parent is not
     subject to this litigation and that the plaintiff, as its
     “independent” subsidiary, can claim an inability to
     obtain such information from it. However, given that the
     parent has an interest in seeing these types of matters
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     resolved favorably, it is therefore presumed to be
     forthcoming, even unprompted, to provide whatever CBP
     deems necessary to assist in their resolution, and the
     fact that in that regard there has apparently been
     considerable “resistance” throughout this case to that
     not unreasonable discovery request and the “assistance”
     that the parent could have provided its subsidiary to
     address necessary questions . . ., speaks volumes.

     . . . [T]he foregoing leads the court to doubt that
     accurate ascertainment of the “true” value of the “price
     paid or payable” at the first sale level in the customs
     duty sense has been demonstrated in this case.

Meyer II at *50-51.


             As the defendant points out, the prior analysis shows

that plaintiff’s failure to provide the financial information

requested by it during discovery provided an independent reason as

to why Meyer could not demonstrate a true first-sale value absent

of influence - not from a nonmarket-economy country per se — but

from the relationships of the related parties.             And the plaintiff

had been forewarned by the court’s Meyer I decision as to the

importance    of   that   financial   information    but     chose    not   to

supplement its discovery responses.


             Furthermore, “[a]lthough this Court may exercise such

discretion to rectify a significant flaw in the conduct of the

original proceeding, [t]he purpose of a rehearing is not to

relitigate the case.”        Tianjin Magnesium Int'l Co. v. United
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States,       36    CIT   1698,   1699   (2012)     (quotations        and   citations

omitted).          As discussed above, an extensive record was developed

before this court.              It is more than sufficient for conducting

reconsideration now.


               Finally, this court considers that the CAFC’s holding of

Nissho       Iwai’s    “nonmarket      influences”      as    simply      referring    to

influences growing out of the relationship of buyer and seller that

distort the price paid or payable, coupled with its “remand for

th[is] court to reconsider whether Meyer may rely on the first-sale

price”,      negates      any   need   for    further   proceedings        now.5      The

plaintiff had more-than-adequate opportunity to make its case for

first-sale treatment, and any suggestion now for a retrial is

inconsistent with Rule 1 of the USCIT rules to “secure the just,

speedy,       and     inexpensive      determination         of   every    action     and

proceeding.”


                                             III

               In view of the foregoing, and given the precision of the

CAFC remand quoted above, mandating Customs and Border Protection

to acquiesce in plaintiff’s plea for liquidation of its merchandise


         5
           Plaintiff’s motion(s) filed after the CAFC mandate issued
regarding possible such proceedings can be, and they hereby are,
dismissed.
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on the basis of its first sale is not warranted, and this court’s

judgment entered in Meyer II is therefore hereby affirmed.


           So ordered.


Decided:   New York, New York
           February 9, 2023



                                 /s   Thomas J. Aquilino, Jr.
                                         Senior Judge
